Case 2

woo\lc\c.n-.:=.wl\),:-

NNNNNNNNN»-\\-lh-d)-i)-\»-i>-\b-\i-\»-\
QO-IG\m-RDJNJ-\=\$QQ\]G\UILWNH¢

Tammy Hussin, Esq. (Bar No. 155290)
Lemberg & Associates, LLC

6404 Merlin Drive

Carlsbad, CA 92011

Telephone (855) 301-2100 ext. 5514
thussjn@lemberglaw.com

Lemberg & Associates, LLC
1100 Summer Street
Stamford, CT 06905
Telephone: (203) 653-2250
Facsimjle: (203) 653-3424

Attomeys for Plaintiff,
David Meske

David Meske,
P]ai-ntiff,
_ vs.

Aircare Medical Supply, Inc.; and DOES
1-10, inclusive,

Defendants.

 

 

13-cv-09254-GAF-A.]W Document 1 Filed 12/17/13 Page 1 of 9 Page |D #:6

 

w ¢,.\
§ §Fj_f<.il
'- U", .T"'"! ’_‘m-_¢
m -?a ¢E¢'
r__ _;-,j W_| m
\T'j? f-» “" m
ch 1"*' fn m
~,_ ';"~r»;-- ‘”**" `Y“?
,_` ,; "" -.j '“~\~w~
§ i; F““‘
.!‘*-1 5 3 ;¢:_ § f"“’\""l
"i . 1 h ";U
mg ("> mi ~5»~¢
;,,, :") "
m .. .
.“%1 m \JW

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

QVLS»QQSQFNV

Case No.:

COMPLAINT FOR vIOLATION
0F THE TELEPHoNE
cON_sUMERPRO__TECTION_ACT,
47 U.S.C. § 227, ET. SE_Q. AND
CALIFORNIA BUSINESS &
PROFESSIONS CODE 17200,
ET.SEQ.

JURY TRIAL DEMANDED

 

 

 

 

COMPLA]NT FOR DAMAGES

 

 

Ca§

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

 

e 2:13-CV-09254-GAF-A.]W Document 1 Filed 12/17/13 Page 2 of 9 Page |D #:7

For this Complaint, the Plaintiff, David Meske, by undersigned counsel, states

as follows:
,|URISDICTION
l. This action arises out of Defendants’ repeated violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”), and
California Business & Professions Code 17200, et. seq.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that
Defendants transact business here, Plaintiff resides in this judicial district, and a

substantial portion of the acts giving rise to this action occurred here,

PARTIES
4. The Plaintiff, David Meske (hereafter “Plaintifi”), is an adult individual

residing in Goleta, California, and is a “person” as defined by 47 U.S.C. § 153(10).

5 . Defendant, Aircare Medical Supply, Inc. (“Aircare”), is a California
business entity With an address of 7039 Hayvenhurst Avenue, Van Nuys, California,
and is a “person” as defined by 47 U.S.C. § 153(10).

6. Does l-lO (the “Agents”) are individual employees and/or agents
employed by Aircare and Whose identities are currently unknown to the Plaintiff. One
or more of the Agents may be joined as parties once their identities are disclosed

through discovery.

 

2 COMPLAINT FOR DAMAGES

 

Ca§

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

 

e 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 3 of 9 Page |D #:8

7. Aircare at all times acted by and through one or more of the Agents.
THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

8. In an effort to address a growing number of telephone marketing calls,
Congress enacted in 1991 the Telephone Consumer Protection Act (TCPA). The
TCPA restricts the making of telemarketing calls and the use of automatic telephone
dialing systems and artificial or prerecorded voice messages. In 1992, the Federal
Communications Commission adopted rules to implement the TCPA, including the
requirement that entities making telephone solicitations institute procedures for
maintaining company-specific do-not-call lists.

9. Toward that end, 47 C.F.R. 64.1200(c)(2), prohibits any solicitation to a
“residential telephone subscriber who has registered his or her telephone number on
the national do-not-call registry of persons who do not wish to receive telephone
solicitations that is maintained by the Federal Government.

lO. Such do-not-call registrations must be honored indefinitely, or until the
registration is cancelled by the consumer or the telephone number is removed by the
database administrator.” Id.

ll. In addition, “if a person or entity making a call for telemarketing
purposes (or on whose behalf such a call is made) receives a request from a residential
telephone subscriber not to receive calls from that person or entity, the person or

entity must record the request and place the subscriber's name, if provided, and

 

3 COMPLAINT FOR DAMAGES

 

Ca§

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

 

e 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 4 of 9 Page |D #:9

telephone number on the do-not-call list at the time the request is made. 47 C.F.R.
64.1200(d)(3).

12. A private right of action exists under 47 C.F.R. 64.1200 for any person
who has received “more than one telephone call within any lZ-month period by or on
behalf of the same entity in violation of the regulations prescribed” by the FCC. 47

U.S.C. § 227(c)(5).

THE FACTS

13. Plaintiff values his right to be free from unwanted intrusions and has no
interest or desire to receive unsolicited calls in the privacy of his home. In an effort to
ward of unwanted intruders, prior to the calls herein alleged, Plaintiff registered his
residential telephone number on the national do-not-call registry.

l4. Despite Plaintiff’s do-not-call registration, Defendant called Plaintiff on
his residential telephone to solicit its goods and services to him.

15. Each of the aforementioned calls was placed using an automatic
telephone dialing system (“Automated Calls”).

16. When Plaintiff answered the Automated Calls, there was no person
available with whom Plaintiff could speak. Instead, Plaintiff experienced a period of

dead air for approximately five seconds.

 

4 COMPLAINT FOR DAMAGES

 

Cas

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

3 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 5 of 9 Page |D #:10

l7. After the period of dead air, Defendant’s telephone system sometimes
disconnected the call; other times, Defendant’s telephone system connected the call to
the next available representative

18. Plaintiff directed Defendant to remove his telephone number from
Defendant’s call list and cease all communications with him.

19. Plaintiff called Defendant on or about October 24, 2013 and advised that
he did not want to be called and informed Defendant that his phone number was
registered on the national do-not-call registry.

20. Defendant promised to remove Plaintiff’s number from their call list and
cease all calls to him.

21. Thereafter, Defendant continued to place Automated Calls to Plaintiff as

aforementioned

M
Violations of the Telephone Consumer Protection Act,
47 U.S.C. § 227, et sea.

22. Plaintiff repeats and realleges the above paragraphs of this Complaint and
incorporates them herein by reference.

23. Defendant placed unsolicited Automated Calls to Plaintiff on his
residential landline.

24. Defendants’ telephone equipment has the capacity to store or produce

telephone numbers to be called, using a random or sequential number generator.

 

5 COMPLAINT FOR DAMAGES

 

 

Cas

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

3 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 6 of 9 Page |D #:11

25. Defendant placed multiple solicitation calls to Plaintiff’s residential
telephone without his prior express consent and over his objection.

26. Defendant ignored the fact that Plaintiff was registered on the national
do-not-call registry and ignored Plaintiff’s company specific request to cease all calls
in violation of 47 C.F.R. 64.1200. et. seq.

27. Defendant placed more than one call to Plaintiff in violation of 47 C.F.R.
64.1200 within a twelve month period.

28. Each of the aforementioned calls by Defendant constitutes a negligent
violation of the TCPA.

29. Defendant ignored the prohibitions of the TCPA and ignored Plaintiff’s
requests to stop the unwanted calls, As such, Defendant’s Automated Calls to Plaintiff
were made in knowing and/or willful violation of the TCPA and therefore each call is

subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

M
Invasion of Privacv bv Intrusion upon Seclusion

30. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
31. The Restatement of Torts, Second, § 652B defines intrusion upon

seclusion as, “One who intentionally intrudes. . .upon the solitude or seclusion of

 

6 COMPLAINT FOR DAMAGES

 

 

Cas

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

3 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 7 of 9 Page |D #:12

another, or his private affairs or concerns, is subject to liability to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable person.”

32. California further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated California state law.

33. The Defendants intentionally intruded upon Plaintiff’s right to privacy by
continually harassing Plaintiff with the above referenced telephone calls.

34. The telephone calls made by the Defendants to Plaintiff were so
persistent and repeated with such frequency as to be considered, “hounding the
plaintiff,” and, “a substantial burden to her existence,” thus satisfying the Restatement
of Torts, Second, § 652B requirement for an invasion of privacy.

35. The conduct of the Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

36. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

37. All acts of the Defendants and its agents were committed with malice,

intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

 

7 COMPLAINT FOR DAMAGES

 

 

Cas

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

3 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 8 of 9 Page |D #:13

M

Violation of Business and Professions Code
Section 17200 et. sea.

38. The Plaintiffs incorporate by reference all of the above paragraphs of this
Complaint as though fully stated herein.

39. Defendant engaged in repeated instances of unlawful activity and unfair
business practices as prohibited by Business and Professions Code sections 17200, et
seq. (“hereinafter “UCL”).

40. A business practice is “unlawful” if it violates an underlying state or
federal statute or common law. Defendant is in violation of the UCL by violating the
TCPA.

4l. Defendant engaged in unfair business practices in violation of the UCL
by continuing to contact Plaintiff after being requested not to call, invading Plaintiff’s
right of privacy and causing injury thereby.

42. It is likely that Defendant engages in a pattern of similar conduct when
soliciting other California residents, invading their privacy rights and causing injury.

43. Defendant should be enjoined from further violations of the TCPA when

soliciting its goods and services to California residents,

 

8 COMPLAINT FOR DAMAGES

 

 

Cas

\$m`l¢\UI-ldb-)Nb-\

NNNNNNNNN|-\|-\|-\d-\d-\d-\d-\d-\d-\d-\
W`IG\UIBUNHCWM`I¢\UIBUNb-\C

 

3 2:13-CV-O9254-GAF-A.]W Document 1 Filed 12/17/13 Page 9 of 9 Page |D #:14

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

A. An Order from the Court enjoining Defendant from violating the TCPA
when soliciting its goods and services to California residents;

B. As a result of Defendant’s negligent violations of the TCPA, an award
of $500.00 in statutory damages for each call pursuant to 47 U.S.C. §
227(b)(3)(B);

C. As a result of Defendant’s willful and/or knowing violations of the
TCPA, an award of treble damages of $1500 for each call 7to 47 U.S.C.
§ 227(b)(3)(B) and (C);

D. Costs of litigation and reasonable attomey’s fees pursuant to pursuant to
Cal. Civ. Code § 1021.5 for violations of the B&P Code; and

E. Such other relief as the Court deems just and proper.
TRIAL BY JURY DEMANDED ON ALL COUNTS

DATED: December 13, 2013 TAMMY HUSSIN
/\:<\'\J>Y
By:

Tammy Hussin, Esq.
Lemberg & Associates, LLC
Attomey for Plaintiff, David Meske

 

 

9 COMPLAINT FOR DAMAGES

 

 

